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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

IN RE: VALEANT PHARMACEUTICALS
INTERNATIONAL, INC., SECURITIES
LITIGATION

 

 

Civil Action No. 15-7658 (MAS) (LHG)

ORDER

This matter comes before the Court upon Defendants! Motion to Dismiss. (ECF No. 387.)

Plaintiffs? opposed (ECF No. 401), and Defendants replied (ECF No. 404). The Court has

carefully considered the parties’ arguments and decides the matter without oral argument pursuant

to Local Civil Rule 78.1. For the reasons set forth in the accompanying Memorandum Opinion,

and other good cause shown,

IT IS on this 30th day of June, 2019 ORDERED that Defendants’ Motion to Dismiss is

DENIED.

 

s/Michael A. Shipp
MICHAEL A. SHIPP
UNITED STATES DISTRICT JUDGE

' The Court refers to ValueAct Capital Management L.P.; VA Partners I, LLC; ValueAct Holdings,
L.P.; ValueAct Capital Master Fund, L.P.; ValueAct Co-Invest Master Fund, L.P.; and Jeffrey W.

Ubben collectively as “Defendants”.

2 The Court refers to Teachers Insurance and Annuity Association of America; the City of Tucson
together with and on behalf of the Tucson Supplemental Retirement System; and IBEW Local
Union 481 Defined Contribution Plan and Trust collectively as “Plaintiffs”.
